
Re Lifemark Corporation, applying for Supervisory Writs and Stay Order, Parish of East Baton Rouge, No. 255,861.
The applications for writs are granted in # 82-C-1366 and # 82-C-1376. The cases are fixed for expedited hearing at 10:00 a. m. Tuesday, June 8, 1982. The cases are consolidated for argument.
Because it appears that the trial judge exceeded his jurisdiction, the stay order signed by the district judge on May 27,1982 at about 3:25 p. m. in these cases is recalled and vacated, as are any other stay orders issued in these proceedings, the effect of which is to recall and vacate the decision of the Department of Health and Human Resources awarding National Medical Enterprises, Inc. certification under the Social Security Act, Section 1122, and further recalling and vacating any orders the effect of which is to notify the United States Department of Health and Human Services to return Form HRA-45 (record of state and local action pursuant to 1122 of the Social Security Act regarding the proposed Southern Diagnostic Center of National Medical Enterprises, Inc. in Slidell, Louisiana). All other proceedings in these cases are stayed pending further orders of this court.
CALOGERO, J., recused.
